Case 2:20-cv-00177-GEKP Document1 Filed 01/10/20 Page 1 of 10

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

PAULETTE FEGLEY
5526 N, 6th Street
Philadelphia, PA 19120

 

CIVIL ACTION
Plaintiff, :
v. : No.:

FLY LEGACY AVIATION LLC
9800 Ashton Road :
Philadelphia, PA 19114 : JURY TRIAL DEMANDED

Defendant.

CIVIL ACTION COMPLAINT

Plaintiff, Paulette Fegley (hereinafter referred to as “Plaintiff’), by and through her

undersigned counsel, hereby avers as follows:
INTRODUCTION

1, Plaintiff has initiated this action to redress violations by Fly Legacy Aviation LLC
(hereinafter “Defendant”) of the Age Discrimination in Employment Act (“ADEA” — 29 U.S.C.
§§ 621 et seq.), the Pennsylvania Human Relations Act (“PHRA”), and the Philadelphia Fair
Practices Ordinance (“PFPO”).! Plaintiff was unlawfully terminated by Defendant, and she
suffered damages more fully described/sought herein, |

JURISDICTION AND VENUE
2. This Court has original subject matter jurisdiction over the instant action pursuant

to 28 U.S.C. §§ 1331 and 1343(a)(4) because it arises under the laws of the United States and seeks

 

| Plaintiff's claims under the PHRA and PFPO are referenced herein for notice purposes. She is required to wait 1
full year before initiating a lawsuit from date of dual-filing with the EEOC. Plaintiff is however filing her lawsuit in
advance of same because she exhausted the necessary 60-day waiting period under the ADEA. Plaintiff's PHRA and
PFPO claims however will mirror identically her federal claims under the ADEA.
Case 2:20-cv-00177-GEKP Document1 Filed 01/10/20 Page 2 of 10

redress for violations of federal laws. There ilies supplemental jurisdiction over Plaintiff's state-
law claims because they arise out of the same common nucleus of operative facts as Plaintiff's
federal claims asserted herein.

3. This Court may properly maintain personal jurisdiction over Defendant because its
contacts with this state and this judicial district are sufficient for the exercise of jurisdiction over
Defendant to comply with traditional notions of fair play and substantial justice, satisfying the
standard set forth by the United States Supreme Court in Jnt’l Shoe Co. v. Washington, 326 U.S.
310 (1945), and its progeny.

4. Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2), venue is properly laid in this district
because Defendant is deemed to reside where it is subjected to personal jurisdiction, rendering
Defendant a resident of the Eastern District of Pennsylvania.

5. Plaintiff is proceeding herein under the ADEA after properly exhausting all
administrative remedies with respect to such claims by timely filing a Charge of Discrimination
with the Equal Employment Opportunity Commission (“EEOC”) and waiting sixty (60) days

before filing the instant lawsuit.

PARTIES
6. The foregoing paragraphs are incorporated herein their entirety as if set forth in full.
7, Plaintiff is an adult who resides at the above-captioned address.

8. Fly Legacy Aviation LLC is a full-service aviation company headquartered at
Northeast Philadelphia Airport (“PNE”), providing flight training, sightseeing, aircraft rental, and

maintenance, with an address as set forth in the above-caption.
Case 2:20-cv-00177-GEKP Document1 Filed 01/10/20 Page 3 of 10

9. At all times relevant herein, Defendant acted through its agents, servants and
employees, each of whom acted at all times relevant herein in the course and scope of their
employment with and for the Defendant.

FACTUAL BACKGROUND

10.‘ The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full,

ll. Plaintiff is a 63-year-old female

12. _— Plaintiff was employed by Defendant (including two predecessor companies) as a
Customer Service Representative for approximately 22 years until her unlawful termination (as
discussed infra) on or about August 30, 2019,

13. Defendant acquired Plaintiff's former employer Legacy Aviation LLC effective in
or about February of 2019.

14. Toward the latter part of Plaintiff's tenure and through her termination, Plaintiff
was primarily supervised by Chief Operating Officer (“COO”), Alex Souponetsky (hereinafter
“Souponetsky”), and generally supervised by Defendant’s owner Moshe Wechsler (hereinafter
“Wechsler”).

15. Throughout her tenure with Defendant, Plaintiff was a hard-working employee who
performed her job well.

16. Plaintiff was also the oldest and most experienced member of Defendant’s
Customer Service Department.

17. Based on information and Plaintiffs observations/personal experiences,
Defendant’s management, including but not limited to Souponetsky and Wechsler began a

campaign to terminate older employees, clearly favoring younger employees and exhibiting
Case 2:20-cv-00177-GEKP Document1 Filed 01/10/20 Page 4 of 10

discriminatory animus toward Plaintiff and other older employees. For example, but not intended

to be an exhaustive list:

18,

Shortly after Defendant’s new owners and management took over in or about
February of 2019, they began to terminate several older employees and, upon

information and belief, replaced them with substantially younger new hires;

. Unlike Plaintiff's younger co-workers, Defendant’s management treated Plaintiff

and other older co-workers in a derogatory and condescending manner;
Unlike Plaintiff's younger co-workers, Defendant’s management scrutinized and

criticized the work of Plaintiff and other older workers;

. Unlike Plaintiff's younger co-workers, Defendant’s management selectively

enforced policies against Plaintiff and her older co-workers;

In or about June of 2019, Defendant’s management cut Plaintiffs hours by 9 hours
per week. While Defendant’s management cut customer service hours across the
board, upon information and belief, Plaintiffs hours were cut drastically more than
her substantially younger customer service co-worker, Terrence Hayes (age 30s —
hereinafter “Hayes’); and

On one occasion, while Plaintiff was straightening up Defendant’s front lobby
display (filled with books, accessories, etc.), Souponetsky told Plaintiff not to
bother as Hayes would be ordering t-shirts to display because “he is in the age
group to target sales.”

After observing the aforementioned instances of age discrimination and disparate

treatment for months, Plaintiff was abruptly terminated by Souponetsky on or about August 30,

2019. Plaintiff was informed by Souponestsky that the “new owners,” including but not limited
Case 2:20-cv-00177-GEKP Document1 Filed 01/10/20 Page 5 of 10

to Wechsler, wanted a “younger, fresher look,” that “aviation was for the younger generation,”
and they wanted a “younger face at the customer service desk.” Souponestsky further informed
Plaintiff that “maybe it is time you retire.”

19. Upon information and belief, after Plaintiff was terminated, her job duties have
been performed by a much younger (age 20s), less experienced individual hired shortly before
Plaintiff was terminated, who does not possess the level of qualifications and seniority Plaintiff
had obtained working with Defendant. Defendant also retained Plaintiffs substantially younger
customer service co-worker, Hayes.

20. Without having been the subject of any progressive discipline during her tenure
with Defendant, Plaintiff was terminated over less senior and less experienced employees that were
retained.

21. Plaintiff believes and therefore avers that she was terminated from her position with
Defendant because of her advanced age.

COUNT I
Violation of the Age Discrimination in Employment Act (“ADEA”)
(Age Discrimination)

22. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

23. During her 22-year tenure with Defendant, Plaintiff had no history of significant
discipline.

24, Plaintiff was abruptly terminated on or about August 30, 2019, and told the

purported reason for her termination was that Defendant wanted a “younger, fresher look,” that
Case 2:20-cv-00177-GEKP Document1 Filed 01/10/20 Page 6 of 10

“aviation was for the younger generation,” that they wanted a “younger face at the customer service
desk,” and that “maybe [Plaintiff] should retire.”

25. Plaintiff was treated disparately with respect to hours, enforcement of policies, and
termination contrary to individuals substantially younger than her.

26. Upon information and belief, after Plaintiff was terminated, her job duties have
been performed by a much younger (age 20s), less experienced individual hired shortly before
Plaintiff was terminated, who does not possess the level of qualifications and seniority Plaintiff
had obtained working with Defendant.

27. Therefore, Plaintiff believes and avers her termination was due to her advanced age.

28. These actions as aforesaid constitute unlawful age discrimination under the ADEA.
WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

A. Defendant is to promulgate and adhere to a policy prohibiting discrimination in the
future against any employee(s);

B. Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff whole
for any and all pay and benefits Plaintiff would have received had it not been for Defendant’s
illegal actions, including but not limited to back pay, front pay, salary pay increases, bonuses,

insurance, benefits, training, promotions, reinstatement and seniority;

 

2 Where a plaintiff presents sufficient direct evidence, the Court need not consider whether that claim may proceed
under a McDonnell Douglas theory. See Swierkiewicz v. Sorema N.A., 534 U.S. 506, 311 (2002) (“[T]he McDonnell
Douglas test is inapplicable where the plaintiff presents direct evidence of discrimination.’” (quoting Trans World
Airlines, Inc, v. Thurston, 469 U.S. 111, 121 (1985))). “[I]n Gross v. FBL Financial Services, Inc., the Supreme Court
further held that a plaintiff bringing an age discrimination claim “must prove by a preponderance of the evidence
(which may be direct or circumstantial) that age was the ‘but-for’ cause of the challenged employer decision.” Cellucci
v. RBS Citizens, NA., 987 F. Supp. 2d 578, 586 (E.D, Pa. 2013)(citation omitted). Direct evidence means evidence
sufficient to allow the jury to find that “the ‘decision makers placed substantial negative reliance on [the plaintiffs
age] in reaching their decision” to fire him, Connors v. Chrysler Fin. Corp., 160 F.3d 971, 976 (3d Cir.
1998) (quoting Price Waterhouse v. Hopkins, 490 U.S, 228, 277 (1989) (O’Connor, J., concurring); s¢e also Anderson
v. Consol. Rail Corp., 297 F.3d 242, 248 (3d Cir, 2002) (same). Such evidence “leads not only to a ready logical
inference of bias, but also to a rational presumption that the person expressing bias acted on it” when he made the
challenged employment decision, Starceski v. Westinghouse Elec. Corp., 54 F.3d 1089, 1097 (3d Cir. 1995),

6
Case 2:20-cv-00177-GEKP Document1 Filed 01/10/20 Page 7 of 10

Cc, Plaintiff is to be awarded liquidated damages as permitted by applicable law, in an
amount believed by the Court or trier of fact to be appropriate to punish Defendant for its willful,
deliberate, malicious and outrageous conduct and to deter Defendant or other employers from
engaging in such misconduct in the future;

dD. Plaintiff is to be accorded other equitable and legal relief as the Court deems just,
proper and appropriate (including but not limited to damages for emotional distress, pain, suffering
and humiliation); and

E. Plaintiff is to be awarded the costs and expenses of this action and reasonable

attorney’s fees as provided by applicable federal and state law.
Respectfully submitted,

KARPF, KARPF & CERUTTI, P.C.

     
 

oar

  

By: wt
TG R. Karpf, Esq.
3331 Street Road
Two Greenwood Square, Suite 128
Bensalem, PA 19020

(215) 639-0801

 

Dated: January 10, 2020
 

Case 2:20-cv-00177-GEKP Document1 Filed 01/10/20 Page 8 of 10

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CA TIONF
Paulette Fegley CIVIL ACTION
v
Fly Legacy Aviation LLC No

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be aasigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255, ()
(b) Social Security ~ Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits, 3

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2, {}

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ()
(e) Special Management — Cases that do not fall into tracks (a) through (d) that are

commonly referred to as complex and that need special or intense management by
the court, (See reverse side of this form for a detailed explanation of special

 

 

 

management cases.) . ( }
(f) Standard Management -— Cases that do not fall into any one of the other tracks. «)
1/10/2020 La Plaintiff
Date Attorney-~at-law Attorney for
(215) 639-080) _(215) 639-4970 akarpf@karpf-law.cort
Telephone FAX Number E-Mail Address

(Civ, 660) 10/02
Case 2:20-cv-00177-GEKP Document1_ Filed 01/10/20 Page 9 of 10
UNITED STATES DISTRICT COUR

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
{to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff; 5526 N. 6th Street, Philadelphia, PA 19120

 

Address of Defendant: 9800 Ashton Road, Philadelphia, PA 19114

Place of Accident, Incident or Transaction: Defendant's place of business

 

RELATED CASE, IF ANY:
Case Number: Judge: Date Terminated:
Civil cases are deemed related when Yes is answered to any of the following questions:

1, Is this case related to property included in an earlier numbered suit pending or within one year Yes [ No ix |
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [] No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement ofa patent already in suit or any earlier Yes [] No
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No
case filed by the same individual?

I certify that, to my knowledge, the within case [is / isnot related to any case now pending or within one year previously terminated action in
this court except as noted above.

DATR: 1/10/2020 a ARK2484 / 91538

 

Athorey-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

 

 

CIVIL: (Place 2 Vin one category only)

 

A, Federal Question Cases: B. Diversity Jurisdiction Cases:
C] 1. Indemnity Contract, Marine Contract, and All Other Contracts ( 1. Insurance Contract and Other Contracts
[} 2, FELA [] 2. Airplane Personal Injury
F} 3. Jones Act-Personal Injury LC] 3. Assault, Defamation
LJ 4. Antitrust CQ) 4. Marine Personal Injury
5, Patent [) 5. Motor Vehicle Personal Injury
. 6. Labor-Management Relations 6, Other Personal Injury (Please specify):
7, Civil Rights Hy 7. Products Liability
[} 8. Habeas Corpus Ci 8. Products Liability — Asbestos
9, Securities Act(s) Cases LJ 9% All other Diversity Cases
H 10. Social Security Review Cases (Please specify):
CJ 11. All other Federal Question Cases
(Please specify):

 

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is te remove the case from eligibiltty for arbitration.)

1,_AriR. Karpf , counsel of record or pro se plaintiff, do hereby certify:

Pursuant to Local Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[ | Relief other than monetary damages is sought.

 
 

DATE: 1/10/2020 fF, ARK2484 / 91538
\utorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

NOTE: A trial de novo will bea trial by jury only if there has been compliance with F.R.C.P, 38.

 

Civ, 609 (5/2018)

 
Case 2:20-cv-00177-GEKP Document1 Filed 01/10/20 Page 10 of 10
1844 Rev. 06/17) CIVIL COVER SHEET

The J$ 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

 

purpose of initiating the civil docket sheet. (SHE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)
I. (a) PLAINTIFFS DEFENDANTS
FEGLEY, PAULETTE FLY LEGACY AVIATION LLC
(b)} County of Residence of First Listed Plaintiff _Philadelphia County of Residence of First Listed Defendant Philadelphia
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U8. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c) Attorneys (rin Name, Address, and Telephone Number) Attomeys (if Known)

Karpf, Karpf & Cerutti, P.C.; 3331 Street Road, Two Greenwood Square,
Suite 128, Bensalem, PA 19020; (215) 639-0801; akarpf@karpf-law.com]

 

 

IL BASIS OF JURISDICTION (Place an “Xx” in One Box Only) Il, CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintif f
{For Diversity Cases Only} and One Box for Defendant)
1 U.S. Government 3. Federal Question PIF DEF PTF DEF
Plaintiff (U.S. Government Nota Party) Citizen of This State 1 1 Incorporated or Principal Place 4 4
of Business In This State
2 (U.S. Government 4 Diversity Citizen of Another State 2 2 Incorporated and Principal Place 5 3
Defendant (indicate Citizenship of Parties in Item [if of Business In Another State
Citizen or Subject ofa 3 4. Foreign Nation 4 6
Foreign Country

 

 

            

 

   
   

  
 
 
   

   

     

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

IV. NATURE OF SUIT (Place an “X" in One Box Only}
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0 116 Insurance PERSONAL INJURY PERSONAL INJURY 0 625 Drug Related Seizure * 422 Appeal 28 USC 158 QO 373 False Claims Act
0 120 Marine * 310 Airplane 365 Personal Injury - of Property 21 USC 881 |’ 423 Withdrawal "376 Qui Tam (31 USC
0 130 Miller Act * 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729(a)}
0 140 Negotiable Instrament Liability 0 367 Health Care/ O 400 State Reapportionment
1 150Recovery ofOverpayment |° 320 Assault, Libel & Pharmaceutical P E = 0 410 Antitrust
& Enforcement of Judgment Slander Personal Injury O 820 Copyright: 0 430 Banks and Banking
O 151 Medicare Act * 330 Federal Employers’ Product Liability O 830 Patent 0 450 Commerce
0 152 Recovery of Defaulted Liability O 368 Asbestos Personal O 835 Patent - Abbreviated G 460 Deportation
Student Loans ‘ 340 Marine Injury Product New Dig Application |0 470 Racketeer Influenced and
(Excludes Veterans} "345 Marine Produet Liability O 840 Trademark Corrupt Organizations
0 153 Recovery of Overpayment Liability PERSONALPROPERTY z ABORE: PECUREL (0 480 Consumer Credit
of Veteran’s Benefits "350 Motor Vehicle 0 370 Other Fraud 0 710 Fair Labor Standards 861 HIA (1395ff) O 490 Cable/Sat TY
0 160 Steckhelders’ Suits "355 Motor Vehicle 0 371 Truth in Lending Act O 862 Black Lung (923) C 850 Securities/Commadities!
0 199 Other Contract Product Liability O 380 Other Personal 0 720 Labor/Management * 863 DIWC/DIWW (405(g)) Exchange
0 195 Contract Product Liability |’ 360 Other Personal Property Damage Relations C 864 SSID Title XVI] 0 890 Other Statutery Actions
0 196 Franchise Injury O 385 Property Damage 0 740 Railway Labor Act * 865 RSI (405(g)) @ 891 Agricultural Acts
"362 Personal Injury - Product Liability * 751 Family and Medical f) 893 Environmental Matters
Medical Malpractice Leave Act 0 895 Freedom of Information
Ee EVEL RIG Ee PRISONER PETLELONS (f0 790 Other Labor Litigation ELLE! Act
0 Q 446 Other Civil Rights Habeas Corpus: O 791 Employee Retirement | [0 870 Taxes (U.S, Plaintiff 8 896 Arbitration |
0 220 Foreclosure 0 441 Voting 0 463 Alien Detainee Income Security Act or Defendant) G 899 Administrative Procedure
0 230 Rent Lease & Ejectment Bi) 442 Employment O 510 Motions to Vacate f 871 IRS—Third Party Act/Review or Appeal of
1 240 Torts to Land C 443 Housing/ Sentence 26 USC 7609 Agency Decision
0 245 Tort Product Liability Accommedations O 530 General 0 $50 Constitutionality of
0 290 All Other Real Property 8 445 Amer. w/Disahilities - [0 535 Death Penalty EL State Statutes
Employment Other: 0 462 Naturalization Application
O 446 Amer, w/Disabilities - [0 540 Mandamus & Other [0 465 Other Immigration
Other 0 550 Civil Rights Actions
G 448 Education O 555 Prison Condition
0 360 Civil Detainee -
Conditions of
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V. ORIGIN (Place an “X” in One Box Only)
X1 Original 0 2 Removed from 0 3 Remanded from 0 4 Reinstatedor ' 5 Transferred from 0 6 Multidistrict 0 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (De ot cite jurisdictional statutes untess diversity).
ADEA (29US8C621)
VL CAUSE OF ACTION Brief description of cause:
Violations of the ADEA, PHRA and the Philadelphia Fair Practices Ordinance.
VII REQUESTED IN 0 CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in compfaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: X Yes 'No
VITI. RELATED CASE(S)
IF ANY {See instructions}: JUDGE DOCKETNUMBER
ef
DATE SIGNATURE OFAT,
1/10/2020 enesenaff— een
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FOR OFFICE USE ONLY a“ Le

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

   
